
PER CURIAM.
Affirmed. See Carbajal v. State, 75 So. 3d 258 (Fla. 2011) ; Daniels v. State, 587 So. 2d 460 (Fla. 1991) ; DuBoise v. State, 520 So. 2d 260 (Fla. 1988) ; State v. King, 426 So. 2d 12 (Fla. 1982) ; McDonald v. State, 133 So. 3d 530 (Fla. 2d DCA 2013) ; Doby v. State, 25 So. 3d 598 (Fla. 2d DCA 2009) ; Hughes v. State, 22 So. 3d 132 (Fla. 2d DCA 2009) ; Waiter v. State, 965 So. 2d 861 (Fla. 2d DCA 2007) ; Valdez-Garcia v. State, 965 So. 2d 318 (Fla. 2d DCA 2007) ; Shortridge v. State, 884 So. 2d 321 (Fla. 2d DCA 2004) ; Desmond v. State, 576 So. 2d 743 (Fla. 2d DCA 1991) ; Budd v. State, 477 So. 2d 52 (Fla. 2d DCA 1985) ; McMillan v. State, 832 So. 2d 946 (Fla. 5th DCA 2002) ; Harris v. State, 789 So. 2d 1114 (Fla. 1st DCA 2001) ; Hart v. State, 761 So. 2d 334 (Fla. 4th DCA 1998).
SILBERMAN, BADALAMENTI, and ROTHSTEIN-YOUAKIM, JJ., Concur.
